          Case 2:20-cr-00116-AJS Document 51 Filed 01/12/21 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                              )
                                                      )
               v.                                     )      Criminal No. 20-116
                                                      )
BRIAN BARTELS                                         )



                    GOVERNMENT’S SENTENCING MEMORANDUM

       AND NOW comes the United States of America, by its attorneys, Scott W. Brady, United

States Attorney for the Western District of Pennsylvania, and Shaun E. Sweeney, Assistant United

States Attorney for said district, submitting as follows:

       There is no guideline expressly promulgated for offenses under 18 U.S.C. § 231(a)3).

Therefore, pursuant to §2X5.1 of the Guidelines, the Court must apply “the most analogous offense

guideline.” In determining the most analogous offense guideline, the United States Court of

Appeals for the Third Circuit has applied an elements-based approach. See United States v.

Jackson, 862 F.3d 365, 373-76 (3d Cir. 2017).

       The first step in the inquiry is to determine whether there is a “sufficiently” analogous

guideline. Id. at 373 (citations omitted). If the Court determines that there is not a sufficiently

analogous guideline, then the sentence must be imposed pursuant to 18 U.S.C. § 3553(b). If there

is one or more sufficiently analogous guidelines, then the Court must determine which of them is

the “most” analogous guideline, by applying the “elements based approach.” See Jackson at 374-

76 (citing United States v. Cothran, 286 F.3d 173 (3d Cir. 2002) and United States v. Osborne,

164 F.3d 434 (8th Cir. 1999)).

       The elements-based approach calls for a comparison of the elements of the defendant’s

offense of conviction with the elements of federal offenses covered by a specific offense guideline.
            Case 2:20-cr-00116-AJS Document 51 Filed 01/12/21 Page 2 of 3




Jackson at 375 (citations omitted). The sentencing court merely has to determine which analogous

provisions were within the “ballpark”; it then has to ask which represents the best fit. Jackson at

376 (citing United States v. Rakas, 510 F.3d 1280, 1287 (10th Cir. 2007)). “Even though we must

look to the respective elements, we stress that this inquiry must be conducted in a flexible and

open-ended fashion” Jackson at 375. “[A] perfect match of elements is not necessary (or even

expected). Instead, the proffered guideline need only be within the same proverbial “ballpark” as

the offense of conviction.” Jackson at 376.

          In the case at bar, the government’s position is that there are two sufficiently analogous

guidelines. Those guidelines are §2A2.4 and §2J1.2. The most analogous guideline, however, is

§2J1.2.

          The elements of the offense for a violation of 18 U.S.C. § 231(a)(3) are as follows:

                  1.      That a “civil disorder,” as that term is defined by 18 U.S.C. § 232(1), existed at the

          time the defendant acted, or attempted to act.

                  2.      That the civil disorder resulted in the obstruction or delay of “commerce,” as that

          term is defined in 18 U.S.C. § 232(2), or adversely affected “commerce.”

                  3.      That the defendant committed an act, or attempted to commit an act for the

          intended purpose of obstructing, impeding or interfering, either by himself or with someone else,

          in a violent manner with a law enforcement officer or officers.

                  4.      That the officer or officers were lawfully engaged in the performance of their

          official duties incident to and during the commission of the civil disorder.

                  5.       That the defendant acted willfully.

          18 U.S.C. §§ 231(a)(3), 232(1) and 232(2); see also, United States v. Casper, 541 F.2d
          1275, 1276 (8th Cir. 1976).

          Obviously, there are numerous ways in which a person can violently obstruct, impede or

interfere with a law enforcement officer while that officer is performing his/her duties. In the
            Case 2:20-cr-00116-AJS Document 51 Filed 01/12/21 Page 3 of 3




instant case, the defendant’s offense conduct was intended to promote civil disorder by spray

painting a red letter “A” on the unoccupied police vehicle, in the presence of an agitated crowd,

and then smashing parts of the vehicle in order to make it unusable by the officers who were trying

to prevent civil disorder. This defendant did not directly assault or confront any officer. In short,

this was an obstruction of law enforcement officers by an attack directed toward their vehicle, not

toward the officers themselves.

        This defendant’s conduct, as well as his motive for engaging in this conduct, has more in

common with the obstruction of justice offenses covered by §2J1.2 than it does with the offenses

covered by §2A2.4, which relate more to physical assaults on officers. However, when the elements-based

approach is used, the above-referenced elements for an offense under §231(a)(3) are more similar to the

elements of the offenses covered by §2A2.4. See 18 U.S.C. Sections 111, 1501 and 1502 (relating to

assaults and obstruction of certain law enforcement officers). Therefore, the most analogous guideline,

within the meaning of §2X5.1 of the Guidelines, is §2A2.4.

        At the time of sentencing, the government intends to argue that 2A2.4’s base offense level of 10,

however, does not reflect the seriousness of the offense in that the defendant’s conduct sparked the crowd

to engage in much more destructive behavior thereafter, including the complete destruction of two police

vehicles.


                                                         Respectfully submitted,

                                                         SCOTT W. BRADY
                                                         United States Attorney

                                                         /s/ Shaun E. Sweeney
                                                         SHAUN E. SWEENEY
                                                         Assistant United States Attorney
                                                         PA ID No. 53568
